Case 5:20-cv-01973-JGB-SP Document 21 Filed 11/10/21 Page 1 of 1 Page ID #:200




  1 THOMPSON COBURN LLP
    JOHN L. VIOLA, CSB 131407                                             JS-6
  2 jviola@thompsoncoburn.com
    10100 Santa Monica Boulevard Suite 500
  3 Los Angeles, California 90067
    Tel: 310.282.2500 / Fax: 310.282.2501
  4
  5 Attorney for Defendant,
    ATKORE INTERNATIONAL, INC.
  6
  7                                 UNITED STATES DISTRICT COURT
  8                                CENTRAL DISTRICT OF CALIFORNIA
  9
 10 MARIA VARELA, an individual,                         Case No. 5:20-cv-01973-JGB-SP
 11                   Plaintiff,
 12            v.                                        ORDER DISMISSING ACTION
 13 ATKORE INTERNATIONAL, INC.; and
    DOES 1 through 50, inclusive,
 14
                Defendant.
 15
 16
 17
 18            Pursuant to the Stipulation of the parties, filed November 9, 2021,
 19 IT IS HEREBY ORDERED that the above action is hereby dismissed, with prejudice,
 20 each party to bear its own attorneys’ fees and costs.
 21
 22
      DATED: November 10, 2021
 23
 24
 25                                                 UNITED STATES DISTRICT JUDGE
 26
 27
 28

      10252024.1
                                                     1
                                         ORDER DISMISSING ACTION
